
PER CURIAM.
We accepted jurisdiction in this case under the provisions of article V, section 3(b)(1), Florida Constitution. After briefing and oral argument we are convinced that the trial court ruled that it did not have jurisdiction of the subject matter of this suit. Therefore, the trial court’s ruling on the constitutionality of the statutes under consideration is null and void.
Such a void ruling is incapable of vesting this court with jurisdiction as contemplated by the constitution.
Accordingly, this appeal is dismissed.
ENGLAND, C. J., and BOYD, OVER-TON, SUNDBERG, HATCHETT and ALDERMAN, JJ., concur.
ADKINS, J., dissents.
